                                                              United States Bankruptcy Court
                                                              Middle District of Pennsylvania
In re:                                                                                                                 Case No. 23-01886-MJC
Jaclyn R. Kalieta                                                                                                      Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0314-5                                                  User: AutoDocke                                                             Page 1 of 2
Date Rcvd: Oct 31, 2023                                               Form ID: ntnoshow                                                         Total Noticed: 24
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 02, 2023:
Recip ID                 Recipient Name and Address
db                       Jaclyn R. Kalieta, 207 Hatchet Cv, Auburn, PA 17922-9528
5561449                  Blue Mountain School District, 685 Red Dale Rd, Orwigsburg, PA 17961-2035
5561458                  Onslow Bay Financial LLC, 1211 6th Ave, New York, NY 10036-8701
5561459                + Pennsylvania Attorney General, 16th Floor, Strawberry Square, Harrisburg, PA 17120-0001
5561461                  Pennsylvania Office of General Counsel, 333 Market St Fl 17, Harrisburg, PA 17101-2210
5561462                  Schuylkill County Tax Claim Bureau, 401 N 2nd St, Pottsville, PA 17901-1756
5561464                  U.S. Attorney, Middle District of Pa., 235 N Washington Ave Ste 311, Scranton, PA 18503-1533
5561466                  Wayne Township (Schuylkill County), 10 Municipal Rd, Schuykl Havn, PA 17972-8500

TOTAL: 8

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
5561448                   Email/Text: BarclaysBankDelaware@tsico.com
                                                                                        Oct 31 2023 18:41:00      Barclays Bank Delaware, Attn: Bankruptcy, PO
                                                                                                                  Box 8801, Wilmington, DE 19899-8801
5561450                + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Oct 31 2023 18:52:43      Capital One, P.O. Box 30285, Salt Lake City, UT
                                                                                                                  84130-0285
5561451                   Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Oct 31 2023 18:52:59      Citibank/Sears, Attn: Centralized Bankruptcy, PO
                                                                                                                  Box 790040, St Louis, MO 63179-0040
5561452                + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                                   Oct 31 2023 18:41:00                           Comenity Bank/Wayfair, Attn: Bankruptcy, PO
                                                                                                                  Box 182125, Columbus, OH 43218-2125
5561453                + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Oct 31 2023 18:52:55      Credit One Bank, Attn: Bankruptcy Department,
                                                                                                                  PO Box 98873, Las Vegas, NV 89193-8873
5561454                + Email/Text: cashiering-administrationservices@flagstar.com
                                                                                        Oct 31 2023 18:41:00      Flagstar Bank, Attn: Bankruptcy 5151 Corporate
                                                                                                                  Drive, Troy, MI 48098-2639
5573430                + Email/Text: cashiering-administrationservices@flagstar.com
                                                                                        Oct 31 2023 18:41:00      Flagstar Bank, N.A., 5151 Corporate Drive, Troy,
                                                                                                                  MI 48098-2639
5561455                   Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Oct 31 2023 18:41:00      Internal Revenue Service, Centralized Insolvency
                                                                                                                  Operation, PO Box 7346, Philadelphia, PA
                                                                                                                  19101-7346
5561456                ^ MEBN
                                                                                        Oct 31 2023 18:41:09      KML Law Group, 701 Market St Ste 5000,
                                                                                                                  Philadelphia, PA 19106-1541
5562707                   Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Oct 31 2023 18:53:11      LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                                  PO Box 10587, Greenville, SC 29603-0587
5561457                + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Oct 31 2023 18:53:00      Lvnv Funding/Resurgent Capital, Attn:
                                                                                                                  Bankruptcy, PO Box 10497, Greenville, SC
                                                                                                                  29603-0497
5561460                   Email/Text: RVSVCBICNOTICE1@state.pa.us
                                                                                        Oct 31 2023 18:41:00      Pennsylvania Department of Revenue, Bankruptcy
                                                                                                                  Division, Po Box 280946, Harrisburg, PA
                                                                                                                  17128-0946




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District/off: 0314-5                                              User: AutoDocke                                                         Page 2 of 2
Date Rcvd: Oct 31, 2023                                           Form ID: ntnoshow                                                     Total Noticed: 24
5561463                   Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   Oct 31 2023 18:53:11     Synchrony Bank/TJX, Attn: Bankruptcy, PO Box
                                                                                                            965064, Orlando, FL 32896-5060
5561465                 ^ MEBN
                                                                                   Oct 31 2023 18:41:05     U.S. Department of Justice, 950 Pennsylvania Ave
                                                                                                            NW, Washington, DC 20530-0009
5561467                 + Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Oct 31 2023 18:53:11     Wells Fargo Bank NA, Attn: Bankruptcy, 1 Home
                                                                                                            Campus MAC X2303-01A 3rd FL, Des Moines,
                                                                                                            IA 50328-0001
5571059                   Email/PDF: ais.wellsfargo.ebn@aisinfo.com
                                                                                   Oct 31 2023 18:53:00     Wells Fargo Bank, N.A., Wells Fargo Card
                                                                                                            Services, PO Box 10438, MAC F8235-02F, Des
                                                                                                            Moines, IA 50306-0438

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 02, 2023                                        Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 30, 2023 at the address(es) listed
below:
Name                              Email Address
Jack N Zaharopoulos
                                  TWecf@pamd13trustee.com

Michael A. Cibik
                                  on behalf of Debtor 1 Jaclyn R. Kalieta mail@cibiklaw.com
                                  cibiklawpc@jubileebk.net;ecf@casedriver.com;cibiklaw@recap.email

Michael Patrick Farrington
                                  on behalf of Creditor ONSLOW BAY FINANCIAL LLC mfarrington@kmllawgroup.com

United States Trustee
                                  ustpregion03.ha.ecf@usdoj.gov


TOTAL: 4




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                          UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF PENNSYLVANIA
In re:


Jaclyn R. Kalieta,                                           Chapter         13

                   Debtor 1
                                                             Case No.        5:23−bk−01886−MJC




                              Notice of Intention to Dismiss Bankruptcy Case



Section 343 of the Bankruptcy Code (11 U.S.C. § 343) requires debtors to appear and submit to an examination under
oath at the meeting of creditors held under Section 341 of the Bankruptcy Code (11 U.S.C. § 341). The failure to
appear at the Section 341 meeting of creditors is grounds for dismissal of the bankruptcy case.

The court's docket indicates that Debtor 1 failed to appear at the scheduled Section 341 meeting of creditors.
Accordingly, the Court intends to dismiss the bankruptcy case of Debtor 1.
Any debtor opposing dismissal must file an objection with the Court on or before November 20, 2023 explaining the
failure to appear at each scheduled Section 341 meeting of creditors. Any creditor or party in interest that opposes
this dismissal must file an objection with the Court on or before November 20, 2023.

If no objections are filed by November 20, 2023, an Order will be entered dismissing the bankruptcy case of
Debtor 1.



Address of the Bankruptcy Clerk's Office:                   For the Court:
Max Rosenn U.S. Courthouse                                  Terrence S. Miller
197 South Main Street                                       Clerk of the Bankruptcy Court:
Wilkes−Barre, PA 18701                                      By: ChristopherGambini, Deputy Clerk
(570) 831−2500
Hours Open: Monday − Friday 9:00 AM − 4:00 PM               Date: October 31, 2023

ntnoshow (07/18)




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